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       Attorneys for Plaintiffs
 15
                       THE UNITED STATES DISTRICT COURT
 16        CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
 17     REBECCA ANSPACH, et al.,             )   Case No.: 5:19-cv-02184-JGB-SP
 18                                          )
                         Plaintiff,          )   COLLECTIVE ACTION
 19
               vs.                           )
 20                                          )   PLAINTIFFS’ NOTICE OF
        68-444 PEREZ, INC. dba               )   WITHDRAWAL OF MOTION
 21
        SHOWGIRLS, a California              )   FOR PARTIAL SUMMARY
 22     Corporation; ABDUL WAHAB             )   JUDGMENT WITHOUT
        SHAWKAT, an individual; SAHAR        )   PREJUDICE PENDING
 23
        SHAWKAT, an individual; DOE          )   SETTLEMENT APPROVAL
 24     MANAGERS 1-3; and DOES 4-10,         )
        inclusive,                           )   Hearing
 25
                                             )   Date: January 24, 2022
 26                      Defendants.         )   Time: 9:00 a.m.
                                             )
 27
                                             )   Trial Date: February 8, 2022
 28
         PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION FOR PARTIAL SUMMARY JUDGMENT
                       WITHOUT PREJUDICE PENDING SETTLEMENT APPROVAL
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  1          TO THIS COURT AND ALL PARTIES AND THEIR ATTORNEYS
  2    OF RECORD:
  3          PLEASE TAKE NOTICE that plaintiffs Rebecca Anspach, Marissa
  4    Duran, Akilah Hammond, Kimberly Ann Hoyer, Mandy Johnson, Shanon
  5    Nuckols, Vanessa Ruiz, Andjela Suka, Neli Velasquez, Marlene Silva, Mikayla
  6    Bellamy, and Chellsee Lloyd (collectively, “Plaintiffs”) hereby withdraw their
  7    Motion for Partial Summary Judgment (the “Motion”) [Dkt. 112] without
  8    prejudice per the Notice of Settlement [Dkt. 119] filed on December 1, 2021.
  9
 10    Dated: January 21, 2022                 Respectfully submitted,

 11                                            CARPENTER & ZUCKERMAN
 12
 13                                            /s/ John P. Kristensen
                                               John P. Kristensen
 14                                            Jesenia A. Martinez
 15                                            Attorneys for Plaintiffs

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         PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION FOR PARTIAL SUMMARY JUDGMENT
                       WITHOUT PREJUDICE PENDING SETTLEMENT APPROVAL
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                            CERTIFICATE OF SERVICE

     I certify that on Friday, January 21, 2022 a true and correct copy of the attached
  PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION FOR PARTIAL
  SUMMARY JUDGMENT WITHOUT PREJUDICE PENDING
  SETTLEMENT APPROVAL was served via CM/ECF upon all participants of
  record, including the following parties listed below, pursuant to Fed. R. Civ. P. 5:
  Devon M. Lyon
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  Counsel for Defendants




                                                         /s/ John P. Kristensen
                                                           John P. Kristensen
